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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

ZAVALA LICENSING LLC,                           §
                                                §
          Plaintiff,                            §            Case No: 2:18-cv-544-JRG
                                                §
vs.                                             §            PATENT CASE
                                                §
ERICSSON INC.                                   §            JURY TRIAL DEMANDED
                                                §
          Defendant.                            §

      .
                                            ORDER
            Before the Court is the Joint Motion to Dismiss Under Fed. R. Civ.P. 41(a)(2). (Dkt.

 No. 6.) Having considered the Joint Motion, the Court finds that the Motion should be and
 hereby is GRANTED. Accordingly, it is ORDERED that Plaintiff’s claims against Ericsson

 Inc. are DISMISSED WITH PREJUDICE. It is further ORDERED that all attorneys’ fees

 and costs are to be borne against the party that incurred them. The Clerk is directed to

 CLOSE the above-captioned case.
            SIGNED this 19th day of December, 2011.
           So ORDERED and SIGNED this 21st day of February, 2019.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE
